Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 1 of 13




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               Judge Christine M. Arguello

   Civil Action No. 16-cv-02755-CMA-NYW

   JOSEPH A. KOVACH,

          Plaintiff,

   v.

   NAVIENT SOLUTIONS, INC.,

          Defendant.


        ORDER ON PLAINTIFF’S RESPONSES TO DEFENDANT’S REQUESTS FOR
                         ADMISSION NUMBERS 4 AND 5


          This matter is before the Court upon the parties’ simultaneous briefing regarding

   two of Plaintiff Joseph A. Kovach’s responses to Defendant Navient Solutions, Inc.’s

   requests for admissions. See (Doc. ## 95, 96.) The Court orders that Plaintiff’s two

   responses be treated as formal admissions, which have the effect of conclusively

   establishing a fact from issue and dispensing wholly with the need for proof of that fact.

                                        I.     BACKGROUND

          Plaintiff obtained two Federal Stafford Student Loans and signed a Federal

   Stafford Loan Master Promissory Note in connection with the loans in 2007. (Doc. # 62

   at 2.) Defendant has serviced Plaintiff’s loans from September 7, 2011, through the

   present day. (Id.) In 2013, Plaintiff obtained a cellular telephone number ending in

   5587, and he has retained this cellular telephone number during all relevant times. (Id.;

   Doc. # 61 at 1.) It is the only relevant telephone number for purposes of this case.
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 2 of 13




   (Doc. # 73 at 2.) It is undisputed that Plaintiff provided his telephone number to

   Defendant (then known as Sallie Mae, Inc.) in 2013 and again during a telephone call

   on June 18, 2014. (Id.) The parties stipulate that Defendant had Plaintiff’s prior

   express consent to call his cellular telephone until at least May 28, 2015. 1

          During the relevant time period, May 28, 2015, through August 27, 2015,

   Defendant called Plaintiff’s cellular telephone thirty times using an automated telephone

   dialing system (“ATDS”). Plaintiff contends that when Defendant called him on May 28,

   2015, he told Defendant’s representative to “please stop calling [him].” (Doc. # 61 at 2.)

   The parties stipulate that on June 4, 2015, Plaintiff logged into his online account on

   Defendant’s website. Plaintiff asserts that when Defendant called him on August 24,

   2015, he “expressed . . . extreme displeasure at [Defendant’s] repeated calls” to

   Defendant’s representative. (Id. at 11 n.2.) He also contends that he “unequivocally

   revoked consent twice more on August 26 and 27,” 2015. (Id.) Plaintiff characterizes

   Defendant’s telephone calls as “annoying” and “harassing,” and asserts that Defendant

   ignored his “explicit requests” to stop calling him. (Id. at 2–3; Doc. # 41 at 3.)

          Plaintiff initiated this action against Defendant on November 11, 2016, asserting

   one claim against Defendant pursuant to the Telephone Consumer Protection Act

   (“TCPA”), 42 U.S.C. § 227(b)(1)(A). (Doc. # 1; Doc. # 41 at 3–4.) The TCPA, in

   relevant part, provides:

          It shall be unlawful for any person within the United States . . . to make
          any call (other than a call made for emergency purposes or made with the
          prior express consent of the called party) using any automatic telephone

   1
    All stipulated facts are drawn from the parties’ joint proposed jury instructions, which they
   submitted directly to the Court on August 1, 2018.

                                                    2
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 3 of 13




          dialing service . . . to any telephone number assigned to a . . . cellular
          telephone service.

   42 U.S.C. § 227(b)(1)(A). Plaintiff seeks statutory damages of $500.00 per telephone

   call pursuant to 47 U.S.C. § 227(b)(3)(B), treble damages for Defendant’s willful and

   knowing violations of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C), and injunctive

   relief pursuant to 47 U.S.C. § 227(b)(3)(A). (Doc. # 41 at 5.) Defendant argues that

   Plaintiff cannot maintain his cause of action because he provided “prior express

   consent” within the meaning of the TCPA, 47 U.S.C. § 227(b)(1)(A), for all calls it made

   by ATDS to Plaintiff’s telephone number. (Doc. # 50 at 4.)

          During discovery, Defendant served Plaintiff with interrogatories, requests for

   admission, and requests for production on February 9, 2017. (Doc. # 96 at 2.) On

   March 13, 2017, Plaintiff responded to these discovery requests. See (Doc. # 95-1.)

   Relevant here are Plaintiff’s responses to two of Defendant’s requests for admission:

          REQUEST FOR ADMISSION NO. 4:

          Admit YOU provided YOUR cellular telephone number . . . to [Defendant]
          via [Defendant]’s website on June 4, 2015.

          RESPONSE: Admitted.



          REQUEST FOR ADMISSION NO. 5:

          Admit YOU consented to contact by automated telephonic dialing
          technology via [Defendant]’s website on June 4, 2015.

          RESPONSE: Admitted.

   (Id. at 2.) During his deposition on April 28, 2017, Plaintiff confirmed those responses:

          [Counsel for Defendant] Q. Okay. In one of the requests for admission it
          says, Request for admission Number 4, Admit you provided your cellular

                                               3
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 4 of 13




          telephone number . . . to [Defendant] via [Defendant]’s website on June 4,
          2015. And your response was, Admitted. Is that response accurate?

          [Plaintiff] A. Yes, I guess it is.

          Q. Okay. So you – I think we can agree you provided [Defendant] with
          your cellular telephone number . . . at least on June 4, 2015, right?

          A. Yes.

   (Doc. # 62-1 at 70.) After those answers, Defendant’s counsel did not continue to probe

   into Plaintiff’s June 4, 2015, interactions with its website. See generally (id.)

          The parties filed dueling Motions for Summary Judgment on December 2 and 4,

   2017. (Doc. ## 61, 62.) In its Motion for Summary Judgment, Defendant stated that it

   was “undisputed” that Plaintiff “provided his cellular telephone number to [Defendant]

   . . . via [Defendant]’s website on June 4, 2015. . . . [and] [Plaintiff] consented to

   [Defendant] contacting him using an ATDS on June 4, 2015,” citing Plaintiff’s responses

   to Requests for Admissions Numbers 4 and 5. (Doc. # 62 at 3.)

          Plaintiff took issue with Defendant’s description of the events of June 4, 2015, in

   his Response:

          [Plaintiff] admits that he provided his cellular telephone number to
          [Defendant] via its website on the day he set up his account. However, he
          denies that he set up his account on June 4, 2015 or that he provided his
          cellular telephone number to [Defendant] after setting up his account. His
          response to [Defendant]’s Request for Admission No. 4 reflected his
          assumption that the date of June 4, 2015 that [Defendant] supplied
          accurately stated the date on which he set up his account. His
          recollection has since been refreshed by hearing the subsequently-
          produced call dated May 28, 2015, in which he told [Defendant] to stop its
          repeated calls. Before hearing this call, he remembered only that he had
          told [Defendant] to stop, not the exact date on which he did so. [Plaintiff]
          remembers that he set up his account before [Defendant]’s repetitive calls
          began, and that he did not regrant consent after telling [Defendant] to
          stop.

                                                 4
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 5 of 13




   (Doc. # 63 at 2–3.) Plaintiff also disputed Defendant’s assertion that he had consented

   to Defendant contacting him via ATDS on June 4, 2015, denying that “he set up his

   account on June 4, 2015 or that he provided his cellular telephone number to

   [Defendant] through its website.” (Id. at 3.) Again, he argued that “[h]is response to

   [Defendant]’s Request for Admission No. 5 reflected his assumption that the date on

   June 4, 2015 that [Defendant] supplied accurately stated the date on which he set up

   his account.” (Id.) Plaintiff simultaneously submitted an affidavit dated December 21,

   2017, stating the same. (Doc. # 63-1 at 3–4.)

          The Court denied both parties’ Motions for Summary Judgment on June 25,

   2018. (Doc. # 82.)

          The parties have since been preparing for a two-day jury trial. See (Doc. # 74.)

   On July 11, 2018, the parties submitted stipulated final jury instructions, pursuant to the

   Court’s civil practice standards, included the parties’ stipulated facts. Relevant here is

   their tenth stipulated fact: “Mr. Kovach logged into his online account on NSL’s website

   on June 4, 2015.”

          The parties appeared before this Court for their Final Trial Preparation

   Conference on July 24, 2018. See (Doc. # 94.) Defendant’s counsel brought the tenth

   stipulation to the Court’s attention, arguing that because Plaintiff admitted in his

   responses to Requests for Admission Numbers 4 and 5 that he had provided his

   telephone number and consented to receiving Defendant’s calls via ATDS on June 4,

   2015, when he logged into Defendant’s website, and because Plaintiff never withdrew

   those admissions by motion, the tenth stipulation should include these admissions

                                                 5
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 6 of 13




   pursuant to Federal Rule of Civil Procedure 36(b). Plaintiff’s counsel responded that

   Plaintiff did retract those admissions by virtue of the affidavit he filed with his Response

   to Defendant’s Motion for Summary Judgment. The Court ordered simultaneous

   briefing on this issue, and that briefing is now before the Court. See (Doc. ## 95, 96.)

                      II.    LEGAL STANDARD FOR JUDICIAL ADMISSIONS

          Federal Rule of Civil Procedure 36 permits a party to serve on the opposing party

   “a written request to admit, for purposes of the pending action only, the truth of any

   matters within the scope of Rule 26(b)(1) relating to . . . facts, the application or law to

   fact, or opinions about either.” Fed. R. Civ. P. 36(a). Rule 36 “serves a very useful

   purpose in that it encourages admissions and thus, in many cases, eliminates the

   necessity of the formal proof of relevant facts.” Champlin v. Okla. Furniture Mfg. Co.,

   324 F.2d 74, 76 (10th Cir. 1963). Such “[j]udicial admissions are formal admissions . . .

   which have the effect of withdrawing a fact from issue and dispensing wholly with the

   need for proof of the fact.” Grynberg v. Bar S Serv., Inc., 527 F. App’x 736, 739 (10th

   Cir. 2013) (quoting Guidry v. Sheet Metal Works Int’s Ass’n, 10 F.3d 700, 716 (10th Cir.

   1993)); see U.S. Energy Corp. v. Nukem, Inc., 400 F.3d 822, 833 n.4 (10th Cir. 2005).

   Judicial admissions “are binding in the entirety of the case in which they were made.”

   Asarco, LLC v. Noranda Mining, Inc., 844 F.3d 1201, 1212 n.3 (10th Cir. 2017). Once a

   fact is judicially admitted, “the person obtaining the admission” may “rely thereon in

   preparation for trial.” Gardner v. S. Ry. Sys., 675 F.2d 949, 954 (7th Cir. 1982); see 8B

   Charles Alan Wright, et al., Fed. Prac. & Proc. Civ. § 2252 (3d ed.). The binding nature

   of an admission and the preclusion of contrary evidence are essential to the purpose of


                                                 6
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 7 of 13




   Rule 36. “While this may have a dramatic effect on a party’s ability to prevail, any lesser

   effect would undermine the goals of Rule 36—narrowing the issues and conserving

   resources at trial.” Horner v. Tyson Foods, Inc., No. 12-CV-00080-JHP-TLW, 2012 WL

   5995966, *3 (N.D. Okla. Nov. 30, 2012) (citing Armour v. Knowles, 512 F.3d 147, 154

   n.13 (5th Cir. 2007)).

          Rule 36(b) allows for a judicial admission to be withdrawn or amended in limited

   circumstances:

          A matter admitted under this rule is conclusively established unless the
          court, on motion, permits the admission to be withdrawn or amended.
          Subject to Rule 16(e), the court may permit withdrawal or amendment if it
          would promote the presentation of the merits of the action and if the court
          is not persuaded that it would prejudice the requesting party in maintaining
          or       defending        the       action       on       the        merits.

   Fed. R. Civ. P. 36(b). A court “may permit such withdrawal or amendment when [1] the

   presentation of the merits of the action will be subserved thereby and [2] the party who

   obtained the admission fails to satisfy the court that withdrawal or amendment will

   prejudice that party.” Raiser v. Utah Cty., 409 F.3d 1243, 1246 (10th Cir. 2005) (internal

   quotation omitted). Though Rule 36(b) states that withdrawal or amendment may only

   be done “on motion,” the Tenth Circuit has recognized that a strict application of that

   requirement may be “overly technical and . . . not recognize the reality of the situation.”

   Bergemann v. United States, 820 F.2d 1117, 1120 (10th Cir. 1987). Rather, courts in

   this jurisdiction exercise their discretion to permit withdrawal or amendment after

   considering the two factors of Rule 26(b). See, e.g., Ropfogel v. United States, 138

   F.R.D. 579, 582–83 (D. Kan. 1991).



                                                7
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 8 of 13




                                           III.       ANALYSIS

          Plaintiff asserted at the Final Trial Preparation Conference and now maintains

   that his Response to Defendant’s Motion for Summary Judgment and the

   accompanying affidavit, see (Doc. ## 63, 63-1), amounted to a request to withdraw his

   admissions to Defendant’s Requests for Admissions Numbers 4 and 5. See (Doc. # 95

   at 6.) A response to a motion for summary judgment may “constitute a Rule 36(b)

   motion to withdraw . . . admissions.” In re Durability Inc., 212 F.3d 551, 556–57 (10th

   Cir. 2000). The Court therefore exercises its discretion within the bounds of the two-

   part test of Rule 36(b). See Pedroza v. Lomas Auto Mall, Inc., 258 F.R.D. 453, 462–63

   (D.N.M. 2009).

          For the reasons discussed below, Plaintiff’s request to withdraw his admissions is

   denied. Withdrawal of the admissions concerning his interactions with Defendant’s

   website on June 4, 2015, will not subserve the presentation of the merits of the case

   and will result in prejudice to Defendant in maintaining this action.

   A.     BENEFIT TO THE PRESENTATION OF THE MERITS

          The first factor of Rule 36(b) “emphasizes the importance of having the action

   resolved on the merits, and is satisfied when upholding the admissions would practically

   eliminate any presentation of the merits of the case.” Raiser, 409 F.3d at 1246 (quoting

   Perez v. Miami-Dade Cty., 297 F.3d 1255, 1265 (11th Cir. 2002)). A court may look at

   whether the admission is contrary to the record of the case and whether the admission

   is no longer true “because of changed circumstances or when through an honest error a




                                                  8
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 9 of 13




   party has made an improvident admission.” Ropfogel, 138 F.R.D. at 583 (internal

   citations omitted.)

          Plaintiff hastily argues that “treating [his] admissions to Requests No. 4 and 5 as

   withdrawn would benefit the presentation of the merits of this case” because “the jury

   should be allowed to hear evidence on whether or not Plaintiff granted consent to be

   called on June 4. He has one recollection; Defendant has another.” (Doc. # 95 at 4.)

   Plaintiff reasserts that the “admissions were made to the best of [his] knowledge at the

   time,” but that his “memory was refreshed by hearing his voice telling Defendant to stop

   on the call of May 28.” (Id.) He maintains that “his memory remained consistent about

   the order of events.” (Id.)

          Plaintiff fails to convince the Court that the presentation of the merits of this

   action will be facilitated by ordering the withdrawal of the admissions at issue. See

   Ropfogel v. United States, 138 F.R.D. at 582 (the burden on this element rests of the

   party moving to withdraw the admissions). First, upholding Plaintiff’s admissions does

   not “practically eliminate any presentation of the merits of the case,” see Raiser, 409

   F.3d at 1246; it instead will narrow the focus of the trial to Plaintiff’s interactions with

   Defendant in late August 2015. Second, Plaintiff has made no showing that his

   admissions are contrary to the record, that they are no longer true, or that they were

   made through error. Rather, the record supports the veracity of the admissions. In his

   deposition taken six weeks after he responded to Defendant’s requests for admission,

   Plaintiff confirmed his responses and agreed that he provided Defendant with his

   cellular telephone number on June 4, 2015. (Doc. # 62-1 at 70.) Third, the Court is not


                                                  9
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 10 of 13




   convinced that the admissions at issue were simply a result of memory failure. As

   Defendant argues, see (Doc. # 96 at 8), in responses to other requests for admission

   Plaintiff made on the same day, Plaintiff stated that he was “unable to recall” certain

   facts and might need to “supplement” his responses as discovery proceeded. (Doc.

   # 95-1 at 3.) This suggests to the Court that Plaintiff was aware of the limitations of his

   memory when he responded to the requests for admission. Accordingly, the Court

   concludes that withdrawal of his admissions will not aid the presentation of the merits of

   the case.

   B.     PREJUDICE TO DEFENDANT

          The prejudice contemplated by the second factor of Rule 36(b) “is not simply that

   the party who obtained the admission now has to convince the jury of its truth.

   Something more is required.” Bergemann, 820 F.2d at 1121. Rather, “[t]he prejudice

   contemplated by the rules ‘relates to the difficulty a party may face in proving its case’

   because of the sudden need to obtain evidence required to prove the matter that had

   been admitted.” Gutting v. Falstaff Brewing Corp., 710 F.2d 1309, 1314 (10th Cir. 1983)

   (quoting Brook Vill. N. Assocs. v. General Electric Co., 686 F.2d 66, 70 (1st Cir. 1982)).

   “Reliance on admissions in preparing for trial may show prejudice. Allowing the

   withdrawal of admissions on the eve of trial could unfairly disrupt trial preparations.”

   Ropfogel, 138 F.R.D. at 583 (citing United States v. Golden Acres, Inc., 684 F. Supp.

   96, 99 (D. Del. 1988)); see S.E.C. v. Dickson, No. 2:11-cv-907-CW-BCW, 2013 WL

   5563924, *4 (D. Utah Oct. 8, 2013).)




                                                10
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 11 of 13




          Defendant argues that Plaintiff’s admissions, “at the outset of discovery,

   simplified the litigation of this case, and limited the necessary discovery.” (Doc. # 96 at

   7.) It “relied” on the admissions and therefore “took no additional discovery regarding

   Plaintiff’s interaction” with its website, “including what he perceived, did, or understood

   when Plaintiff accessed the website” on June 4, 2015. (Id.) Defendant asserts that had

   there been factual disputes about Plaintiff’s visit to its website on June 4, 2015, it “would

   have needed to engage in an entire line of discovery regarding Plaintiff’s visit to the

   website, including how he interacted with the same.” (Id. at 8.) It argues that if Plaintiff

   is now allowed to provide evidence contradicting his admissions or withdraw them

   entirely, it will be “severly prejudiced in its ability to defend itself at trial,” as it “has no

   evidence, or ability to get evidence,” concerning Plaintiff’s interactions with its website

   on June 4, 2015. (Id. at 9.) This, in Defendant’s view, would be “tantamount to trial by

   ambush.”

          The Court agrees. Were the Court to grant Plaintiff’s request to withdraw his

   admissions, Defendant would suddenly—less than one week before trial—need to

   obtain evidence required to prove that Plaintiff entered his telephone number and

   consented to be called via ATDS on Defendant’s website on June 4, 2015. See

   Gutting, 710 F.2d at 1314. This would unfairly disrupt Defendant’s trial preparations.

   S.E.C. v. Dickson, 2013 WL 5563924, is instructive. There, the Court denied the

   defendant’s motion to withdraw certain admissions he made in part because the second

   prong of the Rule 36(b) test was satisfied. Id. at *4. The Court described:

          [The plaintiff] propounded their discovery requests early in the discovery
          process and relied on the responses for well over a year. This reliance

                                                    11
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 12 of 13




           undoubtedly helped shape the [plaintiff]'s strategy for additional discovery,
           depositions and overall case preparation. In addition, if the admissions are
           allowed to be amended, the Court agrees with the [plaintiff] that fact
           discovery will need to be re-opened and information may be difficult to
           obtain because “information has, inevitably, gone stale.” Further, by
           relying on the admissions for over a year, the [plaintiff] is prejudiced by
           having to change course in the very late stages of this case.

   Id. Similarly, in this case, Defendant reasonably relied on Plaintiff’s admissions for

   several months. As Defendant explained, these admissions shaped its strategies for

   discovery and trial. The Court therefore concludes that Defendant has satisfied its

   burden to demonstrate that withdrawal of admissions will prejudice it in maintaining the

   action on the merits. See Ropfogel, 138 F.R.D. at 582.

           For these reasons, the Court denies Plaintiff’s request to withdraw his

   admissions regarding the consent he gave Defendant on June 4, 2015, or to present

   contradictory evidence.

                                         IV.    CONCLUSION

           The Court will treat Plaintiff’s responses to Defendant’s Requests for Admission

   Numbers 4 and 5 and judicial admissions pursuant to Rule 36 and will exclude any

   evidence contrary to the admissions.

           Because Plaintiff has judicially admitted that he provided consent to be called via

   ATDS to Defendant on June 4, 2015, the twenty-three telephone calls Defendant made

   to Plaintiff between June 4, 2015, and August 24, 2015, were not in violation of the

   TCPA.




                                                12
Case 1:16-cv-02755-CMA-NYW Document 98 Filed 08/02/18 USDC Colorado Page 13 of 13




         The only remaining calls at issue are: the one call between May 28, 2015, and

   June 4, 2015, made on June 3, 2015, and the five calls between August 24, 2015, and

   August 27, 2015, made on August 25–27, 2015.

         It is ORDERED that the parties shall submit a revised listing of stipulated facts, if

   any, to the Court by noon on August 6, 2018.



         DATED: August 2, 2018
                                                    BY THE COURT:




                                                    _______________________________
                                                    CHRISTINE M. ARGUELLO
                                                    United States District Judge




                                               13
